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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ILLINOIS
                     EASTERN DIVISION

Robert R. Serritella,               )
                                    )
                    Plaintiff,      )
                                    )   No. 16-cv-5096
                 -vs-               )
                                    )   (Judge St. Eve)
Sheriff of Cook County and Cook     )
County, Illinois,                   )
                                    )
                    Defendants.     )

                        STIPULATION OF DISMISSAL

      It is stipulated that this action may be dismissed with prejudice and

without costs.

/s/ Kenneth N. Flaxman              /s/ James J. Chandler (with consent)
    Kenneth N. Flaxman                  James J. Chandler
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